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Erik S. Johnson, ISB #4704
Idaho Legal Aid Services, Inc.
1104 Blaine Street
Caldwell, Idaho 83605
Phone: (208) 454-2591, Ext. 1404
Email: erikjohnson@idaholegalaid.org

Howard A. Belodoff, ISB # 2290
Jennifer A. Giuttari, ISB # 10008
Idaho Legal Aid Services, Inc.
1447 South Tyrell Lane
Boise, ID 83706
Phone: (208) 336-8980, Ext. 1106 and 1503
Email: howardbelodoff@idaholegalaid.org
        jennifergiuttari@idaholegalaid.org

Attorneys for Plaintiffs

                            UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF IDAHO

SABINO LEIBAR,                            )
                                          )                   Case No. 1:17-cv-451-BLW
                  Plaintiffs,             )
                                          )
      v.                                  )                   NOTICE OF WITHDRAWAL
                                          )
                                                              OF COUNSEL JENNIFER A.
JOHN ANCHUSTEGUI AND                      )
JANE ANCHUSTEGUI,                         )                   GIUTTARI
                                          )
                  Defendants.             )
_________________________________________ )

       PLEASE TAKE NOTICE that JENNIFER A. GIUTTARI withdraws as counsel for

Plaintiff Sabino Leibar in the above-entitled case. Ms. Giuttari will no longer be employed by

Idaho Legal Aid Services, Inc. after August 20, 2018, and requests to be removed from receiving

all electronic notices for this case. Erik S. Johnson and Howard A. Belodoff will continue to

represent the Plaintiffs in this matter, and can be reached at the above-listed address.




                                          Notice of Withdrawal of Counsel Jennifer A. Giuttari -1-
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Dated this 20th day of August, 2018.

                                                                            /s/ Jennifer A. Giuttari
                                                                                Jennifer A. Giuttari




                                CERTIFICATE OF SERVICE

       I hereby certify that on the 20th day of August, 2018, I electronically filed the foregoing
with the Clerk of Court using CM/ECF system which sent a Notice of Electronic Filing to the
following persons:

       Brian K. Julian
       Andrea J. Fontaine
       ANDERSON, JULIAN AND HULL, LLP
       Attorneys for Defendants


                                                                            /s/ Jennifer A. Giuttari
                                                                                Jennifer A. Giuttari




                                         Notice of Withdrawal of Counsel Jennifer A. Giuttari -2-
